          Case 8:00-cr-00253-PJM          Document 299        Filed 02/28/07   Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

DAVID BECKFORD

      Petitioner

v                                                            Civil Action No. PJM-O7-301
                                                           v{1telated Crim CasePJM-OO-253)
UNITED STATESOF AMERICA
                                                                    ECF Exempt
       Respondent
                                               000
                                 MEMORANDUM           OPINION

       The above-captionedMotion to Vacatewas filed on February2, 2007. PaperNo. 296.

Petitioner allegesthat the two point sentenceenhancementused in his caseviolated his Sixth

Amendmentright. [d. For the reasonssetforth below, the Motion to Vacateshall be dismissed.

       The instantMotion to Vacateis the secondsuchmotion filed by Petitioner. The first was

filed on June 10,2004,(PaperNo. 247), and subsequentlydeniedby this Court on March 8, 2005

(papersNo. 259 and260). In light of the fact that the instantMotion to Vacateis the secondmotion

to be filed by Petitioner,it must be dismissedfor lack of jurisdiction.

       Under 28 U.S.C. §2255:

                       A secondor successivemotion must be certified as
                       providedin section2244by a panelof the
                       appropriatecourt of appealsto contain-(l} newly
                       discoveredevidencethat, if proven andviewed in
                       light of the evidenceasa whole, would be sufficient
                       to establishby clear and convincingevidencethat
                       no reasonablefactfinderwould have found the
                       movantguilty of the offense;or (2) a new rule of
                       constitutionallaw, maderetroactiveto caseson
                       collateralreview by the SupremeCourt, that was
                       previouslyunavailable.
           Case 8:00-cr-00253-PJM           Document 299         Filed 02/28/07      Page 2 of 2


       Petitioner hasnot received the proper certification from the Fourth Circuit Court of Appeals.

Consequently,this Court may not considerthe merits of his claim unlessanduntil he receivesthe

certification.
        The United StatesCourt of Appealsfor the Fourth Circuit hasset forth instructionsfor the

filing of a motion to obtainthe aforementionedauthorizationOrder. The proceduralrequirements

and deadlinesfor filing the motion are extensive. Consequently,this Court hasattachedheretoa

packet of instructionspromulgatedby the Fourth Circuit which addressesthe comprehensive

procedureto be followed shouldPetitionerwish to seekauthorizationto file a successivepetition

with the appellatecourt. It is to be emphasizedthat Petitionermust file his pleadingwith theFourth

Circuit Court of Appealsand obtain authorizationto file his successivepetition beforethis Court

may examinehis claims.
        For the reasonsset forth herein, this Court is without jurisdiction to review the instant Motion

to Vacate.Accordingly, it shall be dismissedwithout prejudice.




Date: 2/28/07




                                                    2
